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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION


DAVID LORENZO CRUZ,

                     Plaintiff,

v.                                                         Case No: 6:19-cv-1159-Orl-40EJK

KAI JIE INC.,

                     Defendant.

 UNITED STATES M AGISTRATE        Daniel C. Irick               COURTROOM:    5C
 JUDGE:
 DEPUTY CLERK:                    N. Rodriguez                  COUNSEL FOR   Monica Espino
                                                                PLAINTIFF:
 AUDIO RECORDING:                 Digital                       COUNSEL FOR   Baya Whitman Harrison, IV
                                  Orlando_Digital_Transcripts   DEFENDANT:
                                  @flmd.uscourts.gov
 DATE/TIME:                       March 4, 2020
                                  9:58-10:02AM
 TOTAL TIME:                      4 minutes


                                    CLERK’S MINUTES
                              TELEPHONIC STATUS CONFERENCE

Case called, appearances made, procedural setting by the Court.
Hearing held re mediation and settlement conference.
Parties shall file a notice to the Court with proposed dates for a Settlement Conference if the case is not
resolved at mediation.
Court adjourned.
